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            EXHIBIT 3
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


MODERNATX, INC. and MODERNA US, INC.,

                              Plaintiffs,

                       v.

PFIZER INC., BIONTECH SE, BIONTECH                           Case No. 22-cv-11378-RGS
MANUFACTURING GMBH, and BIONTECH
US INC.,

                              Defendants.


  DECLARATION OF ANNALEIGH E. CURTIS IN SUPPORT OF PLAINTIFFS’
MOTION TO COMPEL PRODUCTION OF DOCUMENTS OVER WHICH BIONTECH
                    HAS WAIVED PRIVILEGE

I, Annaleigh E. Curtis, declare as follows:

       1.      I am a counsel at the law firm Wilmer Cutler Pickering Hale and Dorr LLP

(“WilmerHale”), counsel for ModernaTX, Inc. and Moderna US, Inc. (together, “Plaintiffs”) in

the above-captioned action. I am a licensed attorney and a member in good standing of the Bar of

the Commonwealth of Massachusetts. I respectfully submit this declaration in support of Plaintiff

Moderna’s Motion to Compel Production of Documents Over Which BioNTech Has Waived

Privilege.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of an email chain among

counsel dated October 12, 2023 to October 18, 2023.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the transcript

of the December 4, 2023 deposition of                        .

       4.      Attached hereto as Exhibit 3 is a true and correct copy of BNT_COMIR_1378186

– 1378187.
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       5.      Attached hereto as Exhibit 4 is a true and correct copy of        Deposition Exhibit

20, which is comprised of BNT_COMIR_1379459 – 1379460 and a December 2, 2023 certified

translation of BNT_COMIR_1379459 – 1379460.

       6.      Attached hereto as Exhibit 5 is a true and correct copy of        Deposition Exhibit

27, which is BNT_COMIR_1379496 – 1379497.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of        Deposition Exhibit

26, which is BNT_COMIR_1379492.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of        Deposition Exhibit

18, which is BNT_COMIR_1379559.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of        Deposition Exhibit

1.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of        Deposition Exhibit

3, which is an excerpted copy of Defendants’ Supplemental Responses and Objections to

Plaintiffs’ First Set of Common Interrogatories to Defendants (Nos. 1, 2, 4, 5, 6, 7, 8, and 10).

       11.     Attached hereto as Exhibit 10 is a true and correct copy of excerpts of the transcript

of the December 6, 2023 deposition of                        .

       12.     Attached hereto as Exhibit 11 is a true and correct copy of a December 7-8, 2023

Email among counsel.

       13.     Attached hereto as Exhibit 12 is a true and correct copy of BioNTech’s Third

Supplemental Privilege Log, dated December 8, 2023, with highlighting added to Entry Nos. 7-

27.

       14.     Attached hereto as Exhibit 13 is a true and correct copy of a December 12, 2023

Letter from Annaleigh E. Curtis to Bruce Wexler.



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       15.     Attached hereto as Exhibit 14 is a true and correct copy of a December 12, 2023 –

January 3, 2024 Email among counsel.

       16.     Attached hereto as Exhibit 15 is a true and correct copy of a December 22, 2023

Letter from Karthik Kasaraneni to Annaleigh E. Curtis.

       17.     Attached hereto as Exhibit 16 is a true and correct copy of a January 3, 2024 Letter

from Annaleigh E. Curtis to Karthik Kasaraneni and Ryan Meuth.

       18.     Attached hereto as Exhibit 17 is a true and correct copy of a December 15, 2023 –

January 18 Email among counsel.

       19.     Attached hereto as Exhibit 18 is a true and correct copy of a January 8, 2024 Letter

from Annaleigh E. Curtis to Young Park and Michael Liu.

       20.     Attached hereto as Exhibit 19 is a true and correct copy of a January 11, 2024 Letter

from Annaleigh E. Curtis to Karthik Kasaraneni.

       21.     Attached hereto as Exhibit 20 is a true and correct copy of a January 17, 2024 Letter

from Karthik Kasaraneni to Annaleigh E. Curtis.

       22.     Attached hereto as Exhibit 21 is a true and correct copy of excerpts of Moderna’s

Responses and Objections to Pfizer’s First Set of Interrogatories (Nos. 1-4).

       23.     Attached hereto as Exhibit 22 is a true and correct copy of BioNTech’s Privilege

Log dated October 30, 2023.

       24.     Attached hereto as Exhibit 23 is a true and correct copy of BioNTech’s Second

Supplemental Privilege Log dated November 28, 2023.


                                         *       *       *


       I declare under penalty of perjury that the foregoing is true and correct. Executed on

January 19, 2024, in Boston, Massachusetts.

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                                              /s/ Annaleigh E. Curtis
                                              Annaleigh E. Curtis




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                               CERTIFICATE OF SERVICE

       I certify that on January 19, 2024, I filed the foregoing document with the United States

District Court for the District of Massachusetts and caused it to be served on all registered

participants via email.


                                                                  /s/ Annaleigh E. Curtis
                                                                  Annaleigh E. Curtis




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